         Case 8:19-bk-14308-MH                       Doc 96           Filed 09/30/22            Entered 09/30/22 18:02:22                          Desc
                                                                       Page 1 of 4
Amrane Cohen, Trustee                                                                                                               Case#: 8:19-bk-14308-MH
Orange City Square
770 The City Dr. South, #3700
Orange, CA 92868


                                        UNITED STATES BANKRUPTCY COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA

                         TRUSTEE'S SIX MONTH REPORT OF RECEIPTS AND DISBURSEMENTS
                                                 For the period from April 01, 2022 to September 30, 2022
                                                         Chapter 13 Case #: 8:19-bk-14308-MH


Re: Karla Golbert                                                                                      Attorney:      Anerio V Altman
    440 South Beachtree Court                                                                                         Lake Forest Bankruptcy
    Anaheim, CA 92808                                                                                                 PO Box 515381 #97627
                                                                                                                      Los Angeles, CA 90051-6681

This case percentage to unsecured creditors is 23.05 %

                                                       RECEIPTS FOR PERIOD
      Date        Source        Amount                 Date           Source          Amount                  Date         Source        Amount
      Apr-22      8382806000           $212.98         May-22         8449364000          $212.98           Jun-22       8512266000           $212.98
      Jul-22      8570245000           $212.98         Aug-22         8631255000          $212.98           Sep-22       8689896000           $212.98



                    CLAIMS STATUS AND DISTRIBUTIONS FOR THE PERIOD

CLAIMANT NAME                                                           ACCOUNT #

Claim#                     Court                                                Int        Claim         Percent to    Principal        Interest         Principal
                           Claim#                             Class            Rate       Amount          be paid        Paid             Paid           Balance

         Disbursement Date     Check #     Type     Disbursement Amt                  Disbursement Date         Check # Type        Disbursement Amt


Alcoa Billing Center                                           2053
2                                                                                        NOT FILED

Amrane (SA) Cohen (TR)
20                                                                                       NOT FILED

Anerio V Altman
0                                                   Admin                                   2,070.00 100.00%                90.45             0.00           1,979.55

         September 16, 2022         6233598 ATTF                  $90.45              April 15, 2022               6230642 ATTF                    $191.68
         May 23, 2022               6231220 ATTF                 $191.68              June 17, 2022                6231850 ATTF                    $191.68
         July 15, 2022              6232378 ATTF                 $191.68              August 19, 2022              6232957 ATTF                    $191.68
         September 16, 2022         6233598 CR                   $101.23
21                                                                                       NOT FILED

Avalon Bay Communities, Inc.                                   302
3                                                                                        NOT FILED

Beverly Radiology Medical Group                                2919
4                                                                                        NOT FILED

Capital One, N.A.
27                                                                                       NOT FILED
         Case 8:19-bk-14308-MH                Doc 96         Filed 09/30/22       Entered 09/30/22 18:02:22                     Desc
                                                              Page 2 of 4
CLAIMANT NAME                                                 ACCOUNT #                                          Case#: 8:19-bk-14308-MH

Claim#                  Court                                      Int        Claim     Percent to   Principal       Interest       Principal
                        Claim#                       Class        Rate       Amount      be paid       Paid            Paid         Balance

         Disbursement Date   Check #   Type   Disbursement Amt            Disbursement Date    Check # Type      Disbursement Amt

Coast to Coast Financial Solutions                    0381
5                                                                           NOT FILED

CORRINE B. KATZ, ESQ.
31                                                                          NOT FILED

32                                                                          NOT FILED

County of Orange                                      354-232-22.00
14                           3                                              NOT FILED

Courtesy NEF
26                                                                          NOT FILED

ERC                                                   0016
6                                                                           NOT FILED

Fair Collections & Outsourcing                        6440
7                                                                           NOT FILED

Fullerton Radiology Medical Group                     3620
8                                                                           NOT FILED

GCC                                                   4127
9                                                                           NOT FILED

Healthpointe                                          pvt
10                                                                          NOT FILED

Joseph Anthony Coppi
22                                                                          NOT FILED

Joseph Coppi
11                                                                          NOT FILED

M. Leonard & Associates
13                                                                          NOT FILED

Republic Services                                     0381
15                                                                          NOT FILED

Richard G. Heston
23                                                                          NOT FILED

24                                                                          NOT FILED

Santa Ana Division
1                                                                           NOT FILED

SKO Brenner American, Inc.                            1153
16                                                                          NOT FILED

Southwest Credit Systems                              4448
         Case 8:19-bk-14308-MH                Doc 96         Filed 09/30/22       Entered 09/30/22 18:02:22                     Desc
                                                              Page 3 of 4
CLAIMANT NAME                                                 ACCOUNT #                                          Case#: 8:19-bk-14308-MH

Claim#                  Court                                      Int        Claim     Percent to   Principal       Interest       Principal
                        Claim#                       Class        Rate       Amount      be paid       Paid            Paid         Balance

         Disbursement Date   Check #   Type   Disbursement Amt            Disbursement Date    Check # Type      Disbursement Amt

17                                                                          NOT FILED

28                                                                          NOT FILED

Transporter Corridor Agency/Toll Roads                980
29                                                                          NOT FILED

Tustin Longevity Center                               4894
18                                                                          NOT FILED

30                                                                          NOT FILED

United States Trustee (SA)
19                                                                          NOT FILED
          Case 8:19-bk-14308-MH                    Doc 96        Filed 09/30/22            Entered 09/30/22 18:02:22                     Desc
                                                                  Page 4 of 4
                                                                                                                          Case#: 8:19-bk-14308-MH

                                                SUMMARY TOTALS TO DATE
   Summary of all receipts and disbursements from the date the case was filed, to and including: 09/30/2022
   Receipts: $7,497.32 Plan Base: * $20,083.74 Base Balance: ** $12,586.42 Balance On Hand: $191.68
   Paid to Creditors: $6,472.01 Attorney Fees: $4,019.09 Debtor Refund: $0.00 Trustee Fees: $743.18




   NOTE: Checks issued by this office are highlighted in grey.
 * NOTE: The Debtor(s)must pay the greater of the principal balance or the base balance to qualify for a discharge. To obtain a plan balance
          contact the office at 714-621-0200 or connect to www.ndc.org.

 ** NOTE: Base Balance does not represent the payoff amount for your case. However, it does represent the minimum amount that you must pay
          into the case to qualify for a discharge.

      You must provide copies of your tax returns to the trustee within 15 days of filing. Failure to provide these tax returns may result in dismissal
  of your case or a challenge to your discharge. Tax refunds received by Debtor(s) who are not paying 100% to unsecured creditors are usually
  pledged to the plan. Any net refund you are entitled to less $500 per year must be turned over to the Trustee. This requirement is waived for 2020
  Federal tax refund because of COVID relief legislation.

      You can make your plan payment by:

          ·    Sending cashier checks or money orders payable to Amrane Cohen Trustee to P.O. Box 1252, Memphis, TN 38101-1252.
          ·    Signing up for automatic withdrawal from your bank account by calling 714-621-0200.
          ·    By making your payment through ePay as described below.

                                            ePay for the Office of Amrane Cohen, Chapter 13 Trustee

ePay is an on-line system that allows you to tender your payments to the trustee on-line. You will benefit from using this system because:

     The cost of the system may be less than the cost of purchasing cashier’s checks or money order.

          You can schedule when you make your payments - however you are still responsible for making your payments prior to the due date.

          You will get e-mail confirmation that your payment has been tendered.

          If there is any problem getting the funds from your bank account you will get notification the next day.

          Payments will usually be posted to your case within two business days.

          You can tender any tax refunds pledged to the plan through this system.

You must register an account to take advantage of this system. Registering is free and simple. It can be done on-line at your convenience. You
may access the ePay system by visiting our web site: ch13ac.com and clicking on the ePay selection on the first page of the site.

You will be required to enter a transaction ID. In your case, your transaction ID is 1914308 followed by the last 4 digits of the social security
number of person listed first in this report (if you have a joint case).

There is a fee charged by our bank for this service and that fee is charged to you directly by the bank. The fee is $2.00 per payment.

We hope you will decide to use this system to tender all your payments to the office.
